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                             UNITED STATES BANKRUPTCY COURT                         SF11260B (rev 10/2004)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                                Case Number:
       SSN: NA               EIN: NA                          10−93904−BHL−11
    Debtor(s)

                            ORDER AND NOTICE OF DEADLINE
                          TO FILE PROOF OF CLAIM OR INTEREST

      The Court, having reviewed the record in the above−captioned Chapter 11 case, and being
duly advised, finds that a deadline for filing proofs of claim or interest should be set pursuant to
Rule 3003(c)(3) Fed.R.Bankr.P.

      THEREFORE, it is ORDERED AND NOTICE IS HEREBY GIVEN that any creditor or
equity security holder whose claim or interest either has not been listed or has been listed as
disputed, contingent, or unliquidated MUST FILE A PROOF OF CLAIM OR INTEREST in
accordance with Rule 3003(c) Fed.R.Bankr.P. by May 2, 2011

Dated: March 31, 2011                              JUDGE BASIL H. LORCH III
                                                   U.S. BANKRUPTCY COURT
